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 JS~ (Rev. 06/17)                                                       CIVIL COVER SHEET
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 The JS 44 civil cover sheet and the informarion contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the iJnited States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEEINSTRUCTIONSONNEXTPAGE OFTHISFORM.)

 I.(a) PLAINTIFFS ~ 1 l ~ y,~~ P~ ~                                                                     DEFENDANTS ~ ~fGJp~(rfj C(;U~~ ;S~~j(~~-~C
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      ~C~ Attorneys (Firm Name, Address, and Telephone Number)                                           Attorneys(IjKnown)




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II. BASIS OF                SDICTION (Place on 'x"in OneBax Only)                          III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an "lC" in OneBaxforPlainhfj
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O 1     U.S. Government             ~3 Federal Question                                                                      PTF      DEF                                         PTF      DEF
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IV. NATURE OF SUIT /Place an 'x"in One Box On[vl                                                                                       Click here for: Nature of Suit Code Descriptions.
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O  110 Insurance                      PERSONAL INJURY                PERSONAL INJURY           O 625 Drug Related Seizure         O 422 Appeal 28 USC 158         O 375 False Claims Act
O  120 Mazine                      O 310 Airplane                  O 365 Personal Injury -           ofProperty 21 USC 881        O 423 Withdrawal                O 376 Qui Tam (31 USC
O  130 Miller Act                  O 315 Airplane Product                 Product Liability    O 690 Other                              28 USC 157                       3729(a))
O  140 Negotiable Instrument              Liability                O 367 Health Care/                                                                             O 400 State Reapportionment
O  150 Recovery of Overpayment     O 320 Assault, Libel &                Phazmaceurical                                             PRO R         RI     5'       Q 410 Antitrust
      & Enforcement of Judgment           Slander                        Pex~onal Injury                                          O 820 Copyrights                O 430 Banks and Banking
O 151 Medicaze Act                 O 330 Federal Employers'              Product Liability                                        O 830 Patent                    O 450 Commerce
O 152 Recovery of Defaulted               Liability                O 368 Asbestos Personal                                        O 835 Patent -Abbreviated       O 460 Deportarion
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      of Veteran's Benefits        O 350 Motor Vehicle             O 370 Other Fraud           O 710 Fair Labor Standards         O 861 HIA (1395f~               O 490 Cable/Sat T~/
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O 190 Other Contact                      Product Liability         O 380 Other Personal        O 720 Labor/Management             O 863 DIWC/DIWW (405(g))               Exchange
O 195 Contract Product Liability   O 360 Other Personal                 Property Damage               Relations                   O 864 SSID Title XVI            O 890 Other Statutory Actions
O 196 Franchise                          Injury                    O 385 Property Damage       O 740 Railway Labor Act            O 865 RSI(405(8))               Q 891 Agriculbual Acts
                                   O 362 Personal Injury -              Product Liability      O 751 Family and Medical                                           O 893 Environmental Matters
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      REAZ:PR E'~RI'Y                  CIVII, RIGHTS               PRISONER PETTTiONS          O 790 Other Labor Litigation         FEDERAL TASC SUITS                   Act
O 210 Land Condemnarion            O 440 Other Civi] Rights          Habeas Corpus:            O 791 Employee Retirement          O 870 Taxes(U.S. Plaintiff      O 896 Arbitration
O 220 Foreclosure                  O 441 Voting                   O 463 Alien Detainee               Income SecuriTy Act                or Defendant)             O 899 Administrative Procedure
O 230 Rent Lease & Ejechment       O 442 Employment               O 510 Motions to Vacate                                         O 871 IRS—Third Pazty                 AcUReview or Appeal of
O 240 Torts to Land                O 443 Housing/                        Sentence                                                       26 USC 7609                     Agency Decision
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❑ 290 All Other Real Property      O 445 Amer. w/Disabilities -   O 535 Death Penalty                Ii4fl1~GRKTION                                                     State Statutes
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V. ORIGIN (Place an'X"in One Box Only)
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VI. CAUSE OF ACTION                                       of


V ll. Kr;l1 U EJ lEL 11V              ~Q CHECK IF THIS IS A CLASS ACTION                         llL~ MA1VL ~                              1:t1~1:K Y ~J Orily lI Q0ID3I1Q6Q lIl COiI1pl31IIC:

     COMPLAINT:    ~                     UNDER RULE 23,F.R.Cv.P.                                                                           JURY DEMAND:                   Yes       ONo

VIII. RELATED CASES)
                                         (See instructions):
      IF ANY                                                      NDGE                                                              DOCKET NUMBER
                                                                                                  OF




  RECEIPT #                     AMOUNT                                  APPLYING IFP                                NDGE                              MAG.NDGE
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                                                                      OF CALIFORNIA
                                                  CENTRAi. DISTRICT

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